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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                            CASE NO.: 1:05cr39-SPM/AK

GERALD JEROME RAYMOND,

           Defendant.
____________________________/

              ORDER DENYING MOTION TO REDUCE SENTENCE

       This cause comes before the Court on Defendant Gerald Jerome

Raymond’s letter requesting a reduction of sentence, which has been treated by

the clerk as a motion to reduce sentence. Only the United States Attorney can

file a Rule 35 motion on Defendant’s behalf. No Rule 35 motion has been filed,

and without one, this Court lacks jurisdiction to reduce Defendant’s sentence.

Accordingly, it is

       ORDERED AND ADJUDGED that Defendant’s motion to reduce his

sentence (doc. 439) is denied.

       DONE AND ORDERED this 15th day of September, 2008.



                                    s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
